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AO 450 (Rev. 01/09) Judgment in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the

                                                    District of South Carolina

Philadelphia Indemnity Insurance Company,               )
                                                        )                 No. 9:19-cv-02782-SAL
         Plaintiff(s),                                  )
                                                        )
vs                                                      )
                                                        )
Richard Alexander Murdaugh; Richard                     )
Alexander Murdaugh, Jr., and Renee S. Beach,            )
as Personal Representative of the Estate of             )
Mallory Beach,                                          )
                                                        )
         Defendant(s).                                  )

                                SUMMARY JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)__________________ recover from the defendant (name)______________ the amount of

___________dollars ($______), which includes prejudgment interest at the rate of _____%, plus postjudgment

interest at the date of _____%, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name) _______ recover

costs from the plaintiff (name)________________.

U other: Summary Judgment is entered in favor of Plaintiff Philadelphia Indemnity Insurance Company, and this

case is dismissed.


This action was (check one):
’ tried by a jury with Judge______________presiding, and the jury has rendered a verdict.

’ tried by Judge______________without a jury and the above decision was reached.

U decided by the Honorable Sherri A. Lydon, United States District Judge, who grants Plaintiff’s Motion for
Summary Judgment.
                                                            Robin L. Blume
                                                          CLERK OF COURT

                                                               By: s/L. Gibbons, Deputy Clerk

September 21, 2021
